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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


STATE OF NEW JERSEY, et al.,

             Plaintiffs,

                           v.
                                                               No. 1:25-cv-10139-LTS
DONALD J. TRUMP, in his official capacity as President
  of the United States, et al.,

             Defendants.


              DEFENDANTS’ MEMORANDUM IN RESPONSE TO
                   THIS COURT’S JULY 2, 2025 ORDER
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                                          INTRODUCTION

        The Supreme Court recently granted Defendants’ application for a partial stay of this Court’s

preliminary injunction “to the extent that the injunctio[n] [is] broader than necessary to provide

complete relief to each plaintiff with standing to sue.” Trump v. CASA, Inc., 606 U.S. __, 2025 WL

1773631 at * 15 (U.S. June 27, 2025). In so doing, the Court directed that “lower courts shall move

expeditiously to ensure that, with respect to each plaintiff, the injunctions comport with this rule and

otherwise comply with principles of equity.” Id. The Court also ordered that “[t]he injunctions are

. . . stayed to the extent that they prohibit executive agencies from developing and issuing public

guidance about the Executive’s plans to implement the Executive Order.” Id.

        As applied in the context of the preliminary injunction issued by this Court, the Supreme

Court left two issues to resolve: first, whether a universal injunction issued in favor of the States and

other governmental entities (hereinafter, the “States”) comports with the principles of equity the

Supreme Court identified, and second, whether the States’ lawsuit is consistent with third-party

standing principles. The Supreme Court “decline[d] to take up these arguments in the first instance”

and “le[ft] it to” the “lower courts” to decide. Id. at * 12.

        On June 30, the States filed a letter with this Court requesting a briefing schedule regarding

the application of the Supreme Court’s decision. See Letter from Philip D. Murphy to Judge Leo T.

Sorokin (June 30, 2025), ECF 185. Specifically, the States proposed a July 8 deadline for Defendants

“to submit briefing and declarations on alternative forms of relief for remedying the States’ injuries,”

with the States to file their brief one week thereafter. Id. at 2. Defendants indicated that they

opposed the briefing schedule submitted by Plaintiffs, see id., but before Defendants could file a

response, this Court entered an order on July 2 largely adopting Plaintiffs’ schedule but permitting

Defendants to file a reply. See Order, ECF 186. The next day, the United States Court of Appeals for

the First Circuit denied a motion made by Defendants-Appellants in that court to set a briefing


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schedule to apply the Supreme Court’s stay in CASA and instead remanded to this Court for “the

limited purpose of enabling the District Court to consider the bearing, if any, of [the Supreme

Court’s] guidance in CASA on the scope of the preliminary injunction . . . and to act accordingly.”

Order at 3, ECF 188.

                                              ARGUMENT

        As a threshold matter, Defendants raise two procedural issues. First, the First Circuit

misapprehended the stay entered by the Supreme Court in CASA. Specifically, while the First

Circuit noted that there is no stay motion currently pending before it, the Supreme Court was clear

that it “granted” a partial stay to the extent the preliminary injunctions issued by this and other

courts “are broader than necessary to provide complete relief to each plaintiff with standing to sue.”

CASA, 2025 WL 1773631 at *15. There is therefore a stay in effect, the scope of which the Supreme

Court required the lower courts to resolve. Second, the briefing schedule proposed by the States and

adopted by this Court flips the burden of proof: In light of the Supreme Court’s grant of

Defendants’ stay, it is the States’ burden, in the first instance, to demonstrate why this Court’s

preliminary injunction is necessary to remedy their injuries without being overly broad. Defendants

do not have the obligation to prove the negative. Thus, nothing requires Defendants to affirmatively

seek further relief for the CASA stay to apply, but to the extent this Court disagrees, Defendants

request that this Court construe this filing as a motion to modify the preliminary injunction or as a

motion to stay the preliminary injunction in part.

        On the merits, this Court should narrow the preliminary injunction it has entered.

Specifically, (1) third-party standing principles bar relief in the States’ suit to the extent those injuries

are premised on the injuries of individual residents; (2) a narrower injunction tailored to the States’

purported financial injuries would provide complete relief; and (3) even if a narrower injunction

provided slightly less than complete relief, any residual injury to the States cannot justify a universal



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injunction. Id. at *12 (noting that a “stronger . . . story” is needed for a “broader and deeper . . .

remedy” (quotation omitted)).

I.      The Supreme Court Issued a Stay that Remains In Place.

        In its July 3, 2025 order remanding this case, the First Circuit opined that a stay is no longer

in place despite the Supreme Court’s clear position to the contrary. ECF 188. In that order, the First

Circuit reasoned “[t]here is no motion, however, pending before this court for a stay pending appeal

of the preliminary injunction on appeal in No. 25-1170, which injunction the defendants-appellants

appear to agree is not stayed at present.” Id. at 3. Defendants do not agree. The First Circuit is

correct that there is no pending motion for stay but that is because a stay is now in place. CASA, 2025

WL 1773631, at *15. In CASA, not only did the Supreme Court find the universal injunction issued

by this Court unlawful, but it granted Defendants’ stay pending the lower courts’ expeditious review

of the overly broad injunctions. Id. Specifically,

        [t]he Government’s applications to partially stay the preliminary injunctions are granted, but only
        to the extent that the injunctions are broader than necessary to provide complete relief
        to each plaintiff with standing to sue. The lower courts shall move expeditiously to
        ensure that, with respect to each plaintiff, the injunctions comport with this rule and
        otherwise comply with principles of equity. The injunctions are also stayed to the
        extent that they prohibit executive agencies from developing and issuing public
        guidance about the Executive’s plans to implement the Executive Order. Consistent
        with the Solicitor General’s representation, §2 of the Executive Order shall not take
        effect until 30 days after the date of this opinion.

Id. (emphasis added). Accordingly, a stay remains in place pending this Court’s determination of the

proper scope of its injunction.

II.     Defendants Need Not Write Their Own Injunction.

        The briefing schedule proposed by Plaintiffs and adopted by this Court improperly shifts the

burden of proof on injury and remedy from plaintiffs to defendants. Specifically, Defendants are

being required in the first instance to “submit briefing and declarations on alternative forms of relief

for remedying the States’ injuries,” with the States providing their response afterwards. ECF 185 at


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2. The States appear to believe that they start with a presumption of universal relief and that

Defendants bear the burden of proving that some narrower remedy is sufficient. Id. That theory

finds no purchase in CASA or any other decision: The States bear the burden to establish their

entitlement to an injunction, Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008), and as the

Supreme Court just made clear, the requirement that a court issue relief tailored to the injured party

before it is a fundamental limitation on the court’s power to act, CASA, 2025 WL 1773631, at *13.

The States are also wrong in suggesting that they may “submit . . . declarations,” ECF 185 at 2, five

months after this Court entered a preliminary injunction to litigate that remedy’s scope. Because

CASA limits the preliminary injunction to “each plaintiff with standing to sue,” 2025 WL 1773631,

at *15, any preliminary injunction must be limited to the extent the declarations the States submitted

with their motion for a preliminary injunction establish their standing to sue.

        This course of action also conflicts with long-standing First Circuit precedent that

defendants “need not ‘write’ the injunction themselves.” United States v. Zenon, 711 F.2d 476, 478 (1st

Cir. 1983). Indeed, it is axiomatic that “[t]he party seeking the preliminary injunction bears the

burden of establishing that the[] [preliminary injunction] factors weigh in its favor.” Becky’s Broncos,

LLC v. Town of Nantucket, 138 F.4th 73, 77 (1st Cir. 2025). Moreover, as the Supreme Court has

recently reiterated, that relief cannot be any broader than necessary and should comply with

principles of equity. CASA, 2025 WL 1773631, at *15. Accordingly, the States have the burden of

proof; they cannot begin (as the briefing schedule proposed by the States and adopted by this Court

contemplates) with the presumption of universal, nationwide (or really any) injunctive relief and then

have the parties work backwards because a defendant does not know in advance what injuries the

court will find. Defendants cannot be expected to propose a specific injunction tailored to those

not-yet-determined injuries because in a case like this one, with multiple plaintiffs and multiple




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theories of injuries, Defendants would need to propose a laundry list of appropriate injunctions for

every possible combination.

        Thus, Defendants submit this brief in response to the Court’s order while maintaining that

Plaintiffs bear the burden to establish the scope of an appropriate preliminary injunction.

Defendants should not be required to demonstrate, in the first instance, why this Court’s injunction

is too broad to remedy the States’ alleged injuries, before the States have put on any evidence of

their injuries in the context of the Supreme Court’s decision in CASA.

III.    The Preliminary Injunction is Overbroad.

        On the merits, the injunction previously entered by this Court is clearly overbroad and

inappropriate. That was true before CASA and is confirmed by the Supreme Court’s decision. For

the avoidance of doubt, Defendants continue to rely on all the arguments they made in opposing

Plaintiffs’ motion for a preliminary injunction, Defs.’ Mot. of L. in Opp’n to Pls.’ Mots. Prelim. Inj.,

ECF 92, and incorporate those arguments here by reference. And because Plaintiffs bear the burden,

Defendants reserve the right to present additional arguments in opposing whatever scope Plaintiffs

might suggest for the preliminary injunction.

        A.      States Lack Standing to Assert Rights on Behalf of Third Parties.

        The Supreme Court did “not address” whether “the States lack third-party standing,”

CASA, Inc., 2025 WL 1773631, at *2 n.2, but stayed the injunction to the extent the States did lack

standing, id. at *15, and “le[ft] it to” “lower courts” “to consider these and any related arguments,”

id. at *12. CASA makes clear that the States’ standing is crucial to the availability and scope of

injunctive relief. The Court squarely rejected the States argument that their standing is irrelevant:

Equitable relief is available only to remedy the injuries of “plaintiffs with standing to sue.” Id. at

*15.




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        The equitable relief that would be available to the States underscores why they are not

proper plaintiffs. Fundamentally, this suit is about the non-citizenship of nonparties. But the States

cannot assert the rights of nonparties or seek relief tailored to any person’s citizenship rights. See

Haaland v. Brackeen, 599 U.S. 255, 295 (2022) (explaining that States cannot bring parens patriae suits

against the federal government). A court may craft injunctive relief focused only on the States’

injuries—the reimbursement-related injuries discussed below. CASA, 2025 WL 1773631, at *16. In

a suit by the proper plaintiffs—the individuals whose alleged citizenship rights are affected by the

Executive Order—a court in equity can provide a more natural remedy: “prohibiting enforcement of

the Executive Order against” that person. Id. at *11.

        The mismatch between the rights asserted and the remedy sought by the States further

underscores why the States cannot properly assert the rights of third parties. A directly affected party

needs relief only for themselves, but indirectly affected parties—like the States here—can often

assert that they require relief for every affected party in order to have relief for themselves . That

inverts the general principles of equity: rather than requiring a “stronger” story of harm for “broader

and deeper” relief, id. at *12 (quoting S. Bray & P. Miller, Getting into Equity, 97 Notre Dame L.

Rev. 1763, 1797 (2002), disregard of third-party standing principles would allow parties only

indirectly affected to leverage weaker harm into broader relief. Nothing in either principles of equity

or third-party standing doctrine supports that result. Cf. id. at *18 (Alito, J., concurring) (“Left

unchecked, the practice of reflexive state third-party standing will undermine today’s decision as a

practical matter.”). Accordingly, any injunctive relief requested on behalf of third parties, here

individual noncitizens, should be denied.




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        B.      The Injunction Is Broader Than Necessary to Provide the States
                Complete Relief.

        A court sitting in equity can “administer complete relief between the parties.” Id. at *11 (quoting

Kinney-Coastal Oil Co. v. Kieffer, 277 U.S. 488, 507 (1928)). Accordingly, “complete relief to each plaintiff

with standing to sue” is the outer limit of the equitable relief that a court can provide. Id. at *15. To

assess what sort of injunction is necessary to provide “complete relief,” a court necessarily focuses

on the plaintiff’s injury and standing. Id. at *11. Thus, as the Supreme Court explained, an individual

who asserts harm from the Executive Order receives “complete relief” from an order “prohibiting

enforcement” as to them; “[e]xtending the injunction to cover all other similarly situated individuals

would not render her relief any more complete.” Id.

        As noted above, the States have no abstract interest in the citizenship status of any particular

individual and cannot predicate their suit on such an interest. Instead, the States assert

fundamentally monetary harms: “financial injuries and the administrative burdens flowing from

citizen-dependent benefits programs.” Id. at *12; see also Mem. of L. in Supp. of Pls.’ Mot. For

Prelim. Inj., ECF 5 at 8 (asserting standing based on States’ “proprietary harms” and “fiscal

injuries”). Specifically, the States contend that they suffer financial injuries due to loss of various

funding for expenses involving “federal health funds and concomitant state healthcare expenses,”

special needs youth, foster care, adoption, guardianship, and child welfare assistance; loss of SSA

reimbursements under the Enumeration at Birth (“EAB”) program and major operational

disruptions and administrative burdens across agencies and facilities. ECF 5 at 8-9. Those harms, the

States contend, flow from Defendants’ recognition that persons subject to the Executive Order are

noncitizens. For example, under Medicaid or the Children’s Health Insurance Program (“CHIP”),

the States assert that the federal government would reimburse “between 50 and 75 percent of

expenditure[s]” on children who are U.S. citizens or with a qualifying immigration status.




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Conversely, the States argue that if a child is treated as a noncitizen the States will have to “bear the

full cost” of the healthcare provided under Medicaid or CHIP. ECF 1 ¶ 123.

        The States are not entitled to a preliminary injunction on any financial injuries, because they

have not established that those injuries are irreparable. “Economic loss, on its own, is not an

irreparable injury so long as the losses can be recovered.” DISH Network Serv. L.L.C. v. Laducer, 725

F.3d 877, 882 (8th Cir. 2013); see also We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 294-95 (2d Cir.

2021). The States have not explained how they would be unable to adjudicate their claims in separate

proceedings when they seek reimbursement or whether there are any available administrative

processes to recover federal monies to which the states claim entitlement after the conclusion of th is

litigation. Cf. Kaiser v. Blue Cross of Cal., 347 F.3d 1107, 1115-16 (9th Cir. 2003) (finding that a party

asserting a claim for Medicare reimbursement would not be irreparably harmed by exhausting claims

through an administrative review process).

        But even if the Court disagreed, a preliminary injunction should at most require Defendants

to continue to reimburse Plaintiffs for services provided to persons covered by the Executive Order

as though they were citizens. Nothing about that relief would require extending the injunction to

individuals who are not, and may never be, present in any of the plaintiff States, and for whom the

plaintiff States will never seek reimbursement under any of the federal programs they identify. Nor

would it require Defendants to treat persons covered by the Executive Order as citizens for other

persons. The States’ monetary injuries would be completely remedied by relief tailored to those

monetary injuries; ordering relief that has no effect on the States’ asserted monetary harms “would

not render [the States’] relief any more complete.” CASA, 2025 WL 1773631, at *11.

        The States fare no better in asserting that universal relief is necessary because they face

administrative burdens created by the Executive Order. See generally ECF 1, ¶¶ 186-201. To start,

these are downstream injuries of the type that the Supreme Court has recognized make standing



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“more attenuated.” United States v. Texas, 599 U.S. 670, 680 n.3 (2023). “[I]n our system of dual

federal and state sovereignty, federal policies frequently generate indirect effects on state revenues or

state spending.” Id. But even if these alleged—and hypothetical—injuries warranted injunctive relief,

they would be fully remedied by an injunction requiring the federal government to allow the Plaintiff

States to continue to treat individuals born in the United States but covered by the Executive Order

as citizens for purposes of these programs.1

        Finally, the States cannot resist a narrower injunction by asserting that it would be difficult

for Defendants to administer narrower relief. As CASA makes clear, the relevant inquiry is focused

on remedying the plaintiff’s injury; that injury sets the outer bounds of the relief the Court may

properly order. 2025 WL 1773631, at *12. That the government may sometimes comply with a

party-specific injunction in a manner that goes beyond the relief ordered and incidentally affords

relief to some nonparties—for example, for administrability reasons—does not alter the court’s

power under the Judiciary Act to grant equitable relief. See id. at *17 (Thomas, J., concurring)

(“[T]he Court today readily dispatches with the individual and associational respondents’ position

that they require a universal injunction, notwithstanding their argument that a ‘plaintiff-specific

injunction’ would be difficult to administer.”); Arizona v. Biden, 31 F.4th 469, 485 (6th Cir. 2022)




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           Other alleged harms related to the States’ current methods of verifying eligibility likewise
do not require sweeping relief. The States’ contention that they will be unable to receive Title IV-E
funding absent enjoining the Order and recognizing the citizenship of children subject to the Order
fails to recognize or even consider that the States could continue to treat birth certificates issued by
other state agencies as sufficient basis for eligibility for Title IV-E. An injunction permitting the
States to continue treating individuals born in the United States as eligible for those programs would
thus not alter the States’ administrative burdens in any meaningful way, and likewise does not
require that relief run to non-party individuals in other States who have never, and may never, set
foot in a plaintiff State, much less seek benefits through a federal program under which the State
receives reimbursements.



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(Sutton, J., concurring) (observing that potential compliance issues are “initially the National

Government’s problem, not ours”).

        C.      Even If a Narrow Injunction Left Unremedied Some Residual Injury,
                Universal Relief That Imposes Substantial Burdens on the Defendants
                Would Still Be an Abuse of Discretion.

        Even if the States could identify some residual injury not addressed by an injunction

requiring Defendants to allow the plaintiff States to continue to treat individuals born in the United

States but covered by the Executive Order as citizens for purposes of these programs, any such

residual injury could not justify extending the injunction universally. As the Supreme Court

explained in CASA, “to say that a court can award complete relief is not to say that it should do so.

Complete relief is not a guarantee—it is the maximum a court can provide.” CASA, 2025 WL

1773631, at *12. Thus, “‘the broader and deeper the remedy the plaintiff wants, the stronger the

plaintiff’s story needs to be.’” Id. (quoting Bray & Miller, supra, at 1797); accord id. at *16 (Thomas, J.,

concurring) (“In some cases, traditional equitable limits will require courts and plaintiffs to make do

with less than complete relief.”).

        As these principles illustrate, even if an injunction tailored to the States left unaddressed

some small, residual injury, or left the States to assume some marginal administrative burden, those

relatively minor impacts on the States could not justify expanding the injunction here to cover

everyone in the nation. Not only would that present all of the problems with universal relief that the

Supreme Court identified in CASA for trifling gains to the plaintiff States, but it would ignore that

other states object to the relief ordered here. See generally Tenn. Amicus Br., State of Tenn.

Unopposed Mot. For Leave to File Amicus Br. In Supp. of Defs. ECF 97. And minor

administrative burdens are a particularly weak basis for such sweeping relief, as “ordinary

compliance costs are typically insufficient to constitute irreparable harm” in the first place. Freedom

Holds., Inc. v. Spitzer, 408 F.3d 112, 115 (2d Cir. 2005); cf. CASA, 2025 WL 1773631, at *17 (Thomas,



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J., concurring) (explaining that associational plaintiffs’ “burden of having ‘to identify and disclose to

the government’ their membership” did not justify a universal injunction). Nor would it be

inequitable to expect the States to take relatively minor steps to facilitate their own relief. Cf. Koster v.

(Am.) Lumbermens Mut. Cas. Co., 330 U.S. 518, 522 (1947) (“he who seeks equity must do equity”).

                                             CONCLUSION

        This Court should “expeditiously” clarify the Supreme Court’s stay by holding that the States

lack standing to assert the rights of third parties and that, in any event, the scope of the injunction is

broader than necessary to provide relief and fails to comport with traditional principles of equity.

Dated: July 8, 2025                                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

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Dated: July 8, 2025



                                                               /s/ Kathleen C. Jacobs
                                                               Kathleen C. Jacobs




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